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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :                      01/25/2017
PREMALAL RANASINGHE,                                                   :
                                                                       :
                                    Plaintiff,                         :    16-CV-2170 (JMF)
                                                                       :
                  -v-                                                  :   OPINION AND ORDER
                                                                       :
PATRICK M. KENNELL, et al.,                                            :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        It is a “fundamental precept” of the American legal system “that a right, question or fact

distinctly put in issue and directly determined by a court of competent jurisdiction . . . cannot be

disputed in a subsequent suit between the same parties or their privies.” Montana v. United

States, 440 U.S. 147, 153 (1979) (internal quotation marks omitted). This precept, embodied in

the doctrines of res judicata and collateral estoppel, is “central to the purpose for which civil

courts have been established, the conclusive resolution of disputes within their jurisdictions.” Id.

Indeed, “[t]o preclude parties from contesting matters that they have had a full and fair

opportunity to litigate” not only “protects their adversaries from the expense and vexation

attending multiple lawsuits,” but also “conserves judicial resources[] and fosters reliance on

judicial action by minimizing the possibility of inconsistent decisions.” Id. at 153-54.

        These principles apply with full force to this case, brought by Premalal Ranasinghe,

proceeding pro se, against Great West Casualty Company (“Great West”) and various attorneys

and law firms that represented Great West and its interests in previous lawsuits (together,




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“Defendants”).1 Indeed, Ranasinghe asserts in this case claims that he has repeatedly pressed in

other fora and continues to press in a pending appeal before the United States Court of Appeals

for the Ninth Circuit. On that basis and others, Defendants move, pursuant to Rule 12(b)(6) of

the Federal Rules of Civil Procedure, to dismiss all of Ranasinghe’s claims. (Docket Nos. 53,

57). Several Defendants also move for sanctions — namely, for a pre-filing injunction barring

Ranasinghe from filing any further lawsuits relating to the matters pressed here and for

attorney’s fees. (Docket No. 64). For the reasons stated below, Defendants’ motions to dismiss

are GRANTED, and their motion for sanctions is GRANTED in part and DENIED in part.

                                         BACKGROUND

       The following facts are taken from the Third Amended Complaint and documents of

which the Court can take judicial notice. See, e.g., Karmely v. Wertheimer, 737 F.3d 197, 199

(2d Cir. 2013); Anderson v. Rochester-Genesee Reg’l Transp. Auth., 337 F.3d 201, 205 n.4 (2d

Cir. 2003) (noting that a court may take judicial notice of official court records in a related

proceeding and citing cases). Where taken from the Third Amended Complaint, the facts are

assumed to be true. See Karmely, 737 F.3d at 199.

       Defendants’ legal saga with Ranasinghe began with the death of Sarath Sapukotana, a Sri

Lankan native working as a truck driver in the United States. (Docket No. 48 (“Third Am.

Compl.”) ¶¶ 21-39). In January 2008, Mr. Sapukotana died after being struck by another truck in




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        Ranasinghe identifies himself as an attorney licensed in Sri Lanka and “qualified to sit for
the Bar Examination in the State of New York.” (Docket No. 48 (“Third Am. Compl.”) ¶ 26).
In light of that, one could argue that he is not entitled to the “special solicitude typically afforded
pro se parties.” Simpson v. Wells Fargo Bank, No. 15-CV-1487 (JMF), 2016 WL 393544, at *2
(S.D.N.Y. Feb. 1, 2016) (citing cases for the proposition that “a lawyer representing herself is
ordinarily entitled to no such solicitude at all from the court” (internal quotation marks omitted)).
The Court need not decide whether that is the case, however, as the outcome here would be the
same whether Ranasinghe was afforded special solicitude or not.
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Arizona. (Id. ¶ 21). Later that year, Martha Sapukotana, purporting to be Mr. Sapukotana’s

wife, brought a wrongful death action in the United States District Court for the District of

Arizona against the driver who struck Mr. Sapukotana and the driver’s company — both of

which were insured by Defendant Great West. (Docket No. 54 (“Kennell Decl.”), Ex. E at 2-3

(“Wrongful Death Case Docket”); see also Third Am. Compl. ¶¶ 23-39). Defendant Joseph

Popolizio and his law firm, Defendant Jones, Skelton & Hochuli P.L.C. (“Jones Skelton”)

represented the defendants in that case. (Third Am. Compl. ¶ 23-24).

       In late November 2009, a few weeks before the close of discovery in the wrongful death

suit, Palihawadanage Ramya Chandralatha Fernando, a Sri Lankan woman, moved to intervene,

claiming she was Mr. Sapukotana’s actual surviving spouse. (See Wrongful Death Case Docket

at 8; Kennell Decl., Ex. F at 1). Ranasinghe — purporting to be acting as Ms. Fernando’s

“attorney-in-fact” by virtue of a “Power of Attorney” — provided Defendant Popolizio with

documents allegedly showing that Ms. Sapukotana’s marriage to Mr. Sapukotana was a sham.

(Third Am. Compl. ¶¶ 25, 29, 197-99; see also Kennell Decl., Ex. K (“Ranasinghe I Summ. J.

Order”) at 3-4). The Arizona District Court, however, denied Ms. Fernando’s motion to

intervene. (Ranasinghe I Summ. J. Order at 2-3). On appeal, the United States Court of Appeals

for the Ninth Circuit affirmed, concluding that “[Ms.] Fernando is not [Mr.] Sapukotana’s

surviving wife.” (See id. at 4). In June 2012, Ms. Sapukotana’s wrongful death suit settled.

(Wrongful Death Case Docket at 14; Third Am. Compl. ¶ 39).

       In July 2013, Ranasinghe, represented by counsel, filed a lawsuit (“Ranasinghe I”) in the

United States District Court for the Eastern District of New York (“E.D.N.Y.”) against

Popolizio, Jones Skelton, and another Jones Skelton attorney, Phillip H. Sanfield (together, the

“Jones Skelton Defendants”), as well as Great West. (Kennell Decl., Ex. G (“Ranasinghe I



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Dismissal Order”) at 1; Third Am. Compl. ¶ 40). Ranasinghe asserted breach-of-contract claims

against Great West and malpractice claims against the Jones Skelton Defendants. (Ranasinghe I

Dismissal Order at 1). Specifically, Ranasinghe alleged that Great West had breached an

agreement to compensate Ms. Fernando for Mr. Sapukotana’s death and that the Jones Skelton

Defendants had orally agreed to compensate him for providing documents showing that Ms.

Sapukotana was not Mr. Sapukotana’s surviving spouse. (Id. at 2-3; Third Am. Compl. ¶¶ 29-

30). The E.D.N.Y. Court dismissed Ranasinghe’s claims against the Jones Skelton Defendants

for lack of personal jurisdiction. (Ranasinghe I Dismissal Order at 4-5; Third Am. Compl.

¶¶ 43-44). When Ranasinghe refiled his claims against the Jones Skelton Defendants in the

District of Arizona, the E.D.N.Y. Court transferred the remaining breach-of-contract claim

against Great West to Arizona. (Kennell Decl., Ex. H at 1; Kennell Decl., Ex. J (“Ranasinghe I

Ariz. Case Docket”) at 9-10; Third Am. Compl. ¶¶ 45-46).

       In January 2015, the Arizona District Court granted summary judgment to Great West,

holding that “Ranasinghe’s testimony and evidence do not present a coherent picture of the terms

of the parties’ alleged contract” and that “a contract cannot be enforced.” (Ranasinghe II Summ.

J. Order at 13; Third Am. Compl. ¶ 139). The next month, the Court dismissed Ranasinghe’s

claims against the Jones Skelton Defendants on the ground that Ranasinghe “fail[ed] to state a

claim for relief.” (Docket No. 59 (“Bauer Aff.”), Ex. F at 1, 8; see also Bauer Aff., Ex. G at 4;

Third Am. Compl. ¶ 221). Thereafter, applying Arizona state law, the Court ordered Ranasinghe

to pay Great West $234,498.70 in attorneys’ fees. (Ranasinghe I Ariz. Case DocketJ at 16; Ex.

M at 6; Third Am. Compl. ¶ 88). Ranasinghe then filed three motions — the first two through

counsel and the third, after withdrawal of counsel, on his own behalf — seeking reconsideration

of the Arizona District Court’s orders and judgment. (Bauer Aff., Ex. S at 2; Third Am. Compl.



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¶¶ 79-80). In the motions (and other submissions), Ranasinghe repeatedly argued that Great

West and its counsel had filed a “false and fabricated affidavit” from Popolizio. (See, e.g.,

Kennell Decl., Ex. O at 4, 6; Ex. P at ¶ 19; Ex. R at 5-9). Notably, in its order denying the first

motion, the Arizona District Court held that Ranasinghe had “not presented any understandable

basis for revisiting the summary judgment order.” (Kennell Decl., Ex. Q at 2). And in its order

denying the second motion, the Court went further, observing that Ranasinghe had presented

“arguments previously made and rejected as well as new arguments that have no legal or factual

basis.” (Kennell Decl., Ex. T at 1). The Court continued, bluntly warning that Ranasinghe’s

“filings cannot continue” and that, if he did file “additional motions similar to his previous

motions, the Court will pursue sanctions against both [Ranasinghe] and his counsel.” (Id.).

       Ranasinghe, proceeding pro se, appealed the Ranasinghe I judgment and various orders

to the Ninth Circuit, arguing, among other things, that the Arizona Court had erred in relying on

the allegedly fabricated affidavit. (Kennell Decl., Ex. Y at 5). That appeal remains pending.

See Ranasinghe v. Great West Cas. Co., No. 15-15247 (9th Cir. filed July 18, 2013). Since the

appeal was filed, Great West has tried in vain to collect the $234,498.70 from Ranasinghe. (See,

e.g., Docket No. 55 (“Great West Mem.”) at 12-13). On multiple occasions, Great West was

forced to seek judicial relief, prompting at least two warnings to Ranasinghe that failure to

comply with his post-judgment discovery obligations might result in contempt. (Id. at 12;

Kennell Decl., Exs. DD & EE). Around the same time, Great West offered to settle the matter

for a nominal sum, but Ranasinghe refused, demanding $100,000 in cash to settle. (Great West

Mem. 13; Kennell Decl., Ex. GG (“Ranasinghe Email Exchange”) at 1). Ranasinghe threatened

that, if Great West did not agree to his terms, he would bring a new lawsuit and name Great

West’s attorneys as well. (See Ranasinghe Email Exchange 1). On January 13, 2016, he filed



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the present lawsuit in New York state court, making true on his threat to add Great West’s

counsel in Ranasinghe I — Patrick M. Kennell and his law firm at the time, Nelson Brown &

Co. (“Nelson Brown”), as well as Kennell’s current firm, Kaufman Dolowich & Voluck

(“Kaufman Dolowich”) — as Defendants. (Kennell Decl., Ex HH at 1). After Ranasinghe

amended his complaint to add a claim under the Racketeer Influenced and Corrupt Organizations

(“RICO”) Act, 18 U.S.C. §§ 1961 et seq., Defendants removed the action to this Court. (Kennell

Decl., Ex. JJ; Docket No. 1 (notice of removal)). Thereafter, Ranasinghe amended his complaint

again (dropping his RICO claim), and Defendants filed the present motions. (See Third Am.

Compl.; Docket Nos. 53, 57, 64).2

                                 THE MOTIONS TO DISMISS

       In light of Ranasinghe I, the present suit can and should be swiftly dismissed. It is well

established that district courts have broad discretion to stay or dismiss duplicative litigation. See

Colorado River Water Conservation Dist. v. United States, 424 U.S. 800, 817 (1976) (“As

between federal district courts, . . . though no precise rule has evolved, the general principle is to

avoid duplicative litigation.”); see also Curtis v. Citibank, N.A., 226 F.3d 133, 138 (2d Cir. 2000)

(“As part of its general power to administer its docket, a district court may stay or dismiss a suit

that is duplicative of another federal court suit.”); Adam v. Jacobs, 950 F.2d 89, 92 (2d Cir.

1991) (“[W]here there are two competing lawsuits, the first suit should have priority, absent the




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        Although Ranasinghe dropped his only federal claim, that did not deprive this Court of
subject matter jurisdiction, as it is measured as of the time of removal. See, e.g., Hallingby v.
Hallingby, 574 F.3d 51, 56 (2d Cir. 2009) (“[T]he existence of federal subject matter jurisdiction
over an action removed from state court to federal court is normally to be determined as of the
time of removal.”); Briarpatch Ltd., L.P. v. Phoenix Pictures, Inc., 373 F.3d 296, 301 (2d Cir.
2004) (“[W]e view the critical issue to be whether the district court had subject matter
jurisdiction at any time before it rendered judgment.”).


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showing of balance of convenience . . . or . . . special circumstances . . . giving priority to the

second.”). A comparison of Ranasinghe’s briefs in the Ninth Circuit appeal and the Third

Amended Complaint in this action make plain that Ranasinghe’s claims here are fundamentally

the same as the claims that he is still litigating in Ranasinghe I. (See Great West Mem. 24 (chart

comparing issues alleged in Ranasinghe I and the instant action)). He may have repackaged

them slightly and added new legal theories (for example, a violation of New York Judiciary Law

Section 487), but the gravamen of the claims is identical: that Defendants submitted a false and

fraudulent affidavit in the underlying contract action in the Arizona District Court. There is no

reason to entertain those claims here when they are still pending before the Ninth Circuit.

(Compare Kennell Decl., Exs. Y & AA, with Third Am. Compl. ¶¶ 73-75, 133-35, 137, 181,

215). On that basis alone, the case can be and is dismissed.

       Separate and apart from being duplicative, however, Ranasinghe’s claims are barred by

the related doctrines of res judicata and collateral estoppel. “Under res judicata, a final

judgment on the merits of an action precludes the parties or their privies from relitigating issues

that were or could have been raised in that action.” Allen v. McCurry, 449 U.S. 90, 94 (1980).3

“Under collateral estoppel, once an issue is actually and necessarily determined by a court of




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         Arguably, Arizona state law governs the application of res judicata and collateral
estoppel here. See, e.g., Algonquin Power Income Fund v. Christine Falls of N.Y., Inc., 362 F.
App’x 151, 154 (2d Cir. 2010) (“Because the decision claimed to have preclusive effect was
rendered by a district court sitting in diversity, we apply the preclusion law that would be applied
by state courts in the State in which the federal diversity court sits.” (internal quotation marks
and alteration omitted)). Defendants, however, rely exclusively on Second Circuit law.
(Ranasinghe cites precedent from many jurisdictions — including but certainly not limited to
Arizona.) Moreover, Arizona law does not appear to differ materially from Second Circuit law
in this context. See, e.g., Pettit v. Pettit, 189 P.3d 1102, 1104 (Ariz. Ct. App. 2008) (barring
religiation of a (1) prior suit ending in a judgment on the merits, (2) based on the same cause of
action, and (3) involving the same parties or their privies). Accordingly, the Court relies on
Second Circuit authority for its analysis.
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competent jurisdiction, that determination is conclusive in subsequent suits based on a different

cause of action involving a party to the prior litigation.” Montana v. United States, 440 U.S.

147, 153 (1979). The former doctrine applies “where an earlier decision was (1) a final

judgment on the merits, (2) by a court of competent jurisdiction, (3) involving the same cause of

action; and (4) in a case involving the same parties or their privies.” Gertskis v. New York Dep’t

of Health and Mental Hygiene, No. 13-CV-2024 (JMF), 2014 WL 2933149, at *4 (S.D.N.Y.

June 27, 2014). For collateral estoppel to apply, “(1) the issues of both proceedings must be

identical, (2) the relevant issues [must have been] actually litigated and decided in the prior

proceeding, (3) there must have been ‘full and fair opportunity’ for the litigation of the issues in

the prior proceeding, and (4) the issues [must have been necessary] to support a valid and final

judgment on the merits.” Leather v. Eyck, 180 F.3d 420, 425-26 (2d Cir. 1999). Finally, to the

extent relevant here, the doctrine of non-mutual estoppel allows a defendant who was not party

to the previous litigation to rely on res judicata or collateral estoppel to bar claims or issues

raised in subsequent litigation, assuming the issue was fully and fairly litigated in the first

instance. See Austin v. Downs, Rachlin & Martin Burlington St. Johnsbury, 270 F. App’x 52, 54

(2d Cir. 2008); see also Blonder-Tongue Labs., Inc. v. Univ. of Illinois Found., 402 U.S. 313,

329 (1971) (“Permitting repeated litigation of the same issues as long as the supply of unrelated

defendants holds out reflects either the aura of the gaming table or a lack of discipline and of

disinterestedness on the part of the lower courts.” (internal quotation marks omitted)).

       Both doctrines are applicable here. First, Ranasinghe had a full and fair opportunity to

litigate the issues and claims that he presses here in Ranasinghe I. Indeed, Ranasinghe

challenged the veracity of Popolizio affidavit on at least three separate occasions before the

Arizona District Court: in his opposition to Great West’s motion for summary judgment (Bauer



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Aff. ¶ 20; Bauer Aff., Ex. J, at 7, 9-12); in his motion for reconsideration of the grant of

summary judgment (Bauer Aff. ¶ 23; Bauer Aff., Ex. M at 3-6, 11-12); and in his motion to

vacate the summary judgment order (Bauer Aff. ¶ 27; Bauer Aff., Ex. P at 10-15). In each

instance, the Arizona District Court rejected Ranasinghe’s arguments and those rejections are

final for purposes of res judicata and collateral estoppel notwithstanding the pending appeal.

See, e.g., Yeiser v. GMAC Mortg. Corp., 535 F. Supp. 2d 413, 421 (S.D.N.Y. 2008) (“It is long

settled in this Court . . . that a summary judgment dismissal is considered a decision on the

merits for res judicata purposes.”); see also Weston Funding Corp. v. Lafayette Towers, Inc., 550

F.2d 710, 715 (2d Cir. 1977) (holding that a summary judgment dismissal in a prior action

qualified as a decision on the merits in the res judicata context); Yan Won Liao v. Holder, 691 F.

Supp. 2d 344, 352 n.9 (E.D.N.Y. 2010) (same).

       Second, as noted above, the claims and issues raised here are, at bottom, identical to

those that Ranasinghe alleged (or could have alleged) in Ranasinghe I. (See, e.g., Kennell Decl.,

Ex. M at 4; Great West Mem. 24 (chart)). The fact that Ranasinghe has repackaged his claims

slightly and presented them in the guise of new legal theories is immaterial, as res judicata

precludes not only those claims that were raised in the prior action, but also those involving the

same transaction or connected series of transactions that “could have been raised in that action,”

Federated Dep’t Stores, Inc. v. Moitie, 452 U.S. 394, 398 (1981); accord Cromwell v. County of

Sac, 94 U.S. 351, 352 (1977), and collateral estoppel precludes relitigation of issues that were

previously decided, see Proctor v. LeClaire, 715 F.3d 402, 414 (2d Cir. 2013). Finally, this case

involves the same parties as Ranasinghe I or their privies. See Central Hudson Gas & Elec.

Corp. v. Empresa Naviera Santa S.A., 56 F.3d 359, 367-68 (2nd Cir. 1995) (“In its modern form,

the principle of privity bars relitigation of the same cause of action against a new defendant



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known by a plaintiff at the time of the first suit where the new defendant has a sufficiently close

relationship to the original defendant to justify preclusion.”). Indeed, the only new parties are

Defendant Kennell and his current and former law firms (Kaufman Dolowich and Nelson Brown,

respectively), and Ranasinghe explicitly identified Kennell in Ranasinghe I as the one who

“should bear the responsibility for presenting a fabricated document.” (Kennell Decl., Ex. P at ¶

19). At a minimum, Kennell, Kaufman Dolowich, and Nelson Brown would be entitled to rely

on non-mutual estoppel in this context. See Austin, 270 F. App’x at 54.

       In short, notwithstanding the pending appeal in the Ninth Circuit, Ranasinghe’s claims

are precluded by both res judicata and collateral estoppel. In fact, “so similar are Plaintiff’s

claims here to those that he raised in [Ranasinghe I] that this lawsuit serves as a ringing

endorsement of the wisdom and fairness of the” two preclusion doctrines. Smith v. Seinfeld, No.

13-CV-4211 (JMF), 2014 WL 700202, at *3 (S.D.N.Y. Feb. 24, 2014).4




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        The Court need not, and does not, reach Defendants’ other arguments for dismissal, but
notes that there appears to be no more basis to exercise personal jurisdiction over Defendants
Popolizio and Jones Skeleton in this case than there was in the E.D.N.Y. action. (See Kennell
Decl., Ex. G at 4; Third Am. Compl. ¶ 43). The fact that they appeared through counsel in the
E.D.N.Y. action does not subject them to suit here. See, e.g., Rockwood Nat’l Corp. v. Pea.
Marwick, Mitchell & Co., 63 A.D.2d 978 (N.Y. App. Div. 1978). Additionally, several of
Ranasinghe’s claims plainly fail on the merits. For example, his claims under Section 487 of the
New York Judiciary Law fail as that law does “not apply to acts by attorneys outside New
York’s territorial borders,” Schertenleib v. Traum, 589 F.2d 1156, 1166 (2d Cir. 1978), and
Ranasinghe alleges no viable non-Arizona conduct. (See Great West Mem. 27-28; Kennell
Decl., Ex. FF at 3). And he may not bring suit for violation of New York’s Disciplinary Rules or
Arizona’s Rules of Professional Conduct. See, e.g., Fagan v. U.S. Dist. Court for the S. Dist. of
N.Y., 644 F. Supp. 2d 441, 450 (S.D.N.Y. 2009) (dismissing a claim under the New York
Lawyer’s Code of Professional Responsibility on the ground that an “alleged ethics violation[]
[did] not form a valid cause of action before this Court” and should have been directed to “the
appropriate disciplinary authorities”); Stirling Bridge, L.L.C. v. Quarles & Brady, LLP, No. 1
CA-CV 08-0244, 2009 WL 4753956, at *5 (Ariz. Ct. App. Dec. 10, 2009) (“[A]lleged violations
of the Rules of Professional Conduct governing attorneys do not give rise to civil causes of
action.”).

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                              THE MOTIONS FOR SANCTIONS

       Defendants Kennell, Great West, Kaufman Dolowich, and Nelson Brown also move for

sanctions — most notably, a pre-filing injunction barring Ranasinghe from any further filings or

claims arising out of the issues connected to Ranasinghe I. (Docket No. 66 (“Defs.’ Mot. for

Sanctions”) at 4-8).5 That the Court has authority to enjoin Ranasinghe “from further vexatious

litigation is beyond peradventure.” Safir v. U.S. Lines, Inc., 792 F.2d 19, 23 (2d Cir. 1986). In

determining whether to exercise that authority, the Court is required to consider the following

factors:

       (1) the litigant’s history of litigation and in particular whether it entailed
       vexatious, harassing or duplicative lawsuits; (2) the litigant’s motive in pursuing
       the litigation, e.g., does the litigant have an objective good faith expectation of
       prevailing?; (3) whether the litigant is represented by counsel; (4) whether the
       litigant has caused needless expense to other parties or has posed an unnecessary
       burden on the courts and their personnel; and (5) whether other sanctions would
       be adequate to protect the courts and other parties.


Id. at 24. “Ultimately,” the Second Circuit has observed, “the question the court must answer is

whether a litigant who has a history of vexatious litigation is likely to continue to abuse the

judicial process and harass other parties.” Id.; accord Iwachiw v. N.Y. State Dep’t of Motor

Vehicles, 396 F.3d 525, 528 (2d Cir. 2005) (per curiam).

       Here, all but the third factor weigh heavily in favor of a pre-filing injunction. First,

Ranasinghe has a demonstrated history of making meritless and duplicative filings in connection

with the events at issue here. Like the litigant in Safir, “he has repeatedly asserted the same

claims in slightly altered guise” and most — if not all of — his “claims have been resoundingly

rejected by the courts.” 792 F.2d at 24. Second, there is good reason to doubt his motives in

bringing the present lawsuit and to conclude that he brought it primarily to harass Defendants.


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       Ranasinghe filed no opposition to Defendants’ sanctions motion. (Docket Nos. 64, 67).
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After all, he is simultaneously seeking relief on the same grounds in the Ninth Circuit. And he

filed this lawsuit with ample notice that personal jurisdiction was likely lacking as to many of the

Defendants (see, e.g., Ranasinghe I Dismissal Order at 4) and only after making what would

appear to be an outlandish settlement demand from Great West. (Great West Mem. 13;

Ranasinghe Email Exchange 1). Finally, to date, he has not paid the $234,498.70 in attorneys’

fees awarded to Great West. It is “obvious,” therefore, that “that mere dismissal of this action

will not hinder [Ranasinghe] from initiating further similar proceedings” and “that other types of

sanctions would be unavailing.” Safir, 792 F.2d at 24. In short, the Court finds that Ranasinghe

is “likely to continue to abuse the judicial process and harass other parties” absent a pre-filing

injunction. Id. Indeed, if anything, the case for a pre-filing injunction is even greater here than it

was in Safir, as all of Ranasinghe’s claims (and especially those here) have lacked merit, while

“some of Safir’s lawsuits, far from being frivolous, were meritorious.” Id.

       Accordingly, Ranasinghe is barred from filing future actions relating to, or arising from,

the death of Mr. Sapukotana and the litigation related thereto — against any party and in any

court — without first obtaining leave to file from this Court. (To be clear, Ranasinghe may

continue to pursue appellate relief in Ranasinghe I and may appeal from the judgment in this

case.) Any motion for leave to file must be captioned “Application Pursuant to Court Order

Seeking Leave to File.” Ranasinghe must attach a copy of his proposed complaint and attach a

copy of this Opinion and Order with any such motion. The motion must be filed with the Pro Se

Office of this Court. Should Ranasinghe violate this Opinion and Order and file an action

without first obtaining leave to file, the action will be dismissed for failure to comply with this

Opinion and Order and Ranasinghe may be subject to sanctions, including contempt.

Additionally, Ranasinghe is warned that submission of further frivolous documents may result in



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the imposition of additional sanctions, including monetary penalties. See 28 U.S.C. § 1651; see

also, e.g., Gertskis, 2014 WL 2933149, at *7.

        Although it is tempting to go further and to require Ranasinghe to reimburse Defendants

for the attorneys’ fees they were forced to pay in connection with this lawsuit, the Court declines

to do so. For one thing, Defendants themselves make only a perfunctory request for attorney’s

fees, citing no authority in support of the request. (See Defs.’ Mot. for Sanctions 11 (“The most

effective sanction available in this situation is a pre-filing injunction . . . . [T]he Court should

also consider other and additional sanctions, including an award of attorneys’ fees in favor of

these movants.”)). For another, Rule 11 of the Federal Rules of Civil Procedure — the basis for

Defendants’ sanctions motion (id. at 8-11) — explicitly states that sanctions “must be limited to

what suffices to deter repetition of the conduct or comparable conduct by others similarly

situated.” Fed. R. Civ. P. 11(c)(4). Here, “the granting of the litigation injunction . . . will serve

as both the greater remedy for defendants’ harm, and the greater deterrence against

[Ranasinghe’s] abuse of the judicial process.” Executor of N.Y. Estate of Kates v. Pressley &

Pressley, P.A., No. 11-CV-3221 (JFB) (ARL), 2013 WL 495415, at *9 (E.D.N.Y. Feb. 7, 2013);

see also, e.g., Lipin v. Hunt, 573 F. Supp. 2d 836, 846 (S.D.N.Y. 2008) (“While the Court is

sensitive to the cost that [the plaintiff] has imposed on defendants, the principal objective of the

imposition of Rule 11 sanctions is not compensation of the victimized party but rather the

deterrence of baseless filings and the curbing of abuses. Because [the plaintiff’s] abusive

conduct will be completely deterred by injunctive relief, an additional award of attorneys’ fees is

not warranted.” (internal quotation marks and citation omitted)). Indeed, as Defendants

themselves concede, Ranasinghe’s failure to pay Great West’s attorneys’ fees to date mean that

“monetary sanctions will have no real effect on him.” (Defs.’ Mot. For Sanctions 6).



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                                         CONCLUSION

       For the reasons stated above, Defendants’ motions to dismiss are GRANTED, and the

Third Amended Complaint is DISMISSED in its entirety. Additionally, Defendants’ motions for

sanctions is GRANTED in part and DENIED in part. Specifically, as set forth above,

Ranasinghe is barred from filing future actions relating to, or arising from, the death of Mr.

Sapukotana and the litigation related thereto — against any party and in any court — without

first obtaining leave to file from this Court. The Clerk of Court is directed to terminate Docket

Nos. 53, 57, and 64, and to close this case.


       SO ORDERED.

Dated: January 24, 2017
       New York, New York




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